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 6
 7                     UNITED STATES DISTRICT COURT
 8                    CENTRAL DISTRICT of CALIFORNIA
 9   ___________________________________
10                                       ) Case No.:
      1. JASON D’SOUZA                   )
11
      2. KRISTINA EISENACHER             )
12    3. ROB EMERT                       ) CLASS ACTION COMPLAINT
13    4. JENNIFER GARNICA                ) for DAMAGES and INJUNCTION,
14    5. KRISTEN JOSEPH                  ) [42 U.S.C. § 1983].
      6. RHONDA REYNA                    )
15
      7. PATRICIA BOONE                  )
16    8. MARK FIDELMAN                   )
17    9. DAVID KING                      )
                                         )
18
               Plaintiffs                )
19
                                         )
20                   vs.                 )
21                                       )
      HON. PATRICIA GUERRERO             )
22
       In Her Honor’s Official Capacity )
23     as Council Chair for the          )
24     Judicial Council of California )
25                                       )
               Defendants                )
26
                                         )
27   ___________________________________ )
28

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 1                   COMPLAINT for DAMAGES and INJUNCTION
 2          I.    Jurisdiction, Parties, and Venue.
 3   (1)    Jurisdiction: This court has jurisdiction pursuant to 28 U.S.C. 1331.
 4   Plaintiffs’ claims arise under the First and Fourteenth Amendments.
 5   (2)    Venue: Relevant events took place in state courts, including Los
 6   Angeles County; therefore, venue is properly laid in this district court.
 7   (3)    Defendant: HON. PATRICIA GUERRERO, California Chief Justice,
 8   respectfully, is sued — in Her Honor’s Official Capacity as Council Chair for
 9   the Judicial Council of California, policy-making body for California courts.
10   (4)    Plaintiff 1: JASON D’SOUZA is a “fit” parent — subject to an Orange
11   County court order, (Aug. 7, 2023), that grants him no “actual parenting
12   time,” i.e., no “care, custody and control” of his child, [see Troxel vs. Granville,
13   530 U.S. 57 (2000)].
14   (5)    Plaintiff 2: KRISTINA EISENACHER is a “fit” parent — subject to a San
15   Mateo County court order, (June 13, 2023), that grants her no “actual
16   parenting time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
17   (6)    Plaintiff 3: ROB EMERT is a “fit” parent — subject to a San Diego
18   County court order, (May 13, 2023), that grants him no “actual parenting
19   time,” i.e., no “care, custody and control” of his child, [Troxel, (id.)].
20   (7)    Plaintiff 4: JENNIFER GARNICA is a “fit” parent — subject to a Los
21   Angeles County court order, (Nov. 8, 2021), that grants her no “actual
22   parenting time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
23   (8)    Plaintiff 5: KRISTEN JOSEPH is a “fit” parent — subject to a Los Angeles
24   County court order, (June 9, 2023), that grants her no “actual parenting
25   time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
26   (9)    Plaintiff 6: RHONDA REYNA is a “fit” parent — subject to a San Mateo
27   County court order, (Jan. 27, 2022), that grants her no “actual parenting
28   time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].

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 1   (10) Plaintiff 7: PATRICIA BOONE is a “fit” parent — subject to a Santa Clara
 2   County court order, (Jan. 25, 2022), that grants her no “actual parenting
 3   time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
 4   (11) Plaintiff 8: MARK FIDELMAN is a “fit” parent — subject to a San Diego
 5   County court order, (Jan. 25, 2022), that grants him no “actual parenting
 6   time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
 7   (12) Plaintiff 9: DAVID KING is a “fit” parent — subject to a Riverside
 8   County court order, (Aug. 15, 2022), that grants him no “actual parenting
 9   time,” i.e., no “care, custody and control” of her child, [Troxel, (id.)].
10   (13) Jury Trial Demand: Plaintiffs demand trial by jury, per the Seventh
11   Amendment, as well as California Constitution, Art. 1, Sec. 16.
12
13         II.    Statement of the Case.
14   (14) Nature of the Action: JUDICIAL COUNCIL is the policy-making body
15   for California courts. Plaintiffs are “fit” parents who challenge its policy of
16   not training judges—first, that parenting is a fundamental right, [Meyer vs.
17   Nebraska, 262 U.S. 390 (1923)], and second, that judges may not issue
18   physical custody orders that grant no “actual parenting time” — unless a
19   parent is found ‘unfit’ — i.e., with clear and convincing evidence of actual
20   harm to a minor child, pursuant to a properly noticed fitness proceeding.
21   (15) Damages: Plaintiffs seek money damages — for each day they and
22   their children were wrongfully dispossessed of fundamental rights.
23   (16) Injunction: To meet the People’s minimum constitutional guarantee,
24   Plaintiffs seek an injunction requiring Defendants to train its judges, first,
25   that “parenting” is a fundamental right, and second, that judges may not
26   issue physical custody orders that grant no “actual parenting time” — unless
27   a parent is found ‘unfit,’ i.e., having done actual harm to a minor child, which
28   is the constitutional showing required for the State to divest custody.

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 1   (17) State Law vs. the Constitution: Under U.S. Supreme Court precedent,
 2   courts may not issue physical custody orders that grant no “actual parenting
 3   time” to a “fit” parent — unless that parent is found ‘unfit’ — with clear and
 4   convincing evidence of actual harm to a minor child, [see Stanley vs. Illinois,
 5   405 U.S. 645 (1972); Smith vs. Org. of Foster Families, 431 U.S. 816 (1977);
 6   Quilloin vs. Walcott, 434 U.S. 246 (1978); Parham vs. J.R., 442 U.S. 584
 7   (1979); and, Santosky vs. Kramer, 455 U.S. 745 (1982)].
 8   (18) ‘Actual Parenting Time’—Defined: The crux of Plaintiffs’ argument is
 9   that “actual parenting time” happens (if at all) when parents have the actual
10   ability to exercise (a) care, custody, and control of their minor children,
11   and, (b) private speech with their children. But here, the State wrongfully
12   dispossessed Plaintiffs of these fundamental rights — despite the fact that
13   they have never been found ‘unfit’ — i.e., no findings of (i) child abuse, (ii)
14   child neglect, (iii) abandonment, or (iv) endangerment.
15   (19) ‘Supervised Visitation’ is Not ‘Parenting’: Where physical custody
16   orders grant “supervised visitation,” it leaves noncustodial parents with no
17   “actual parenting time.” During “supervised visits, the State is in control —
18   in decidedly prison-like settings — where noncustodial parents have (a) no
19   actual ability to exercise care, custody, and control of their children
20   (which deprives 14th Amendment rights), and (b) no actual ability to exercise
21   private speech with their children (which deprives 1st Amendment rights).
22   (20) Infringement: Where, as here, physical custody orders grant no
23   “actual parenting time” to “fit” parents — it necessarily infringes upon
24   fundamental rights that the First and Fourteenth Amendments guarantee.
25   (21) No Ability to Exercise Rights: Where physical custody orders grant no
26   “actual parenting time” to “fit” parents, it precludes the parents’ ability to
27   exercise care, custody, and control of their children, within the meaning
28   of Troxel vs. Granville, [530 U.S. 57 (2000)], as well as their ability to exercise

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 1   private speech with their children, within the meaning of Rotary Int’l vs.
 2   Rotary Club of Duarte, [481 U.S. 537 (1987)].
 3   (22) Severance of Parent-Child Relationships: Truth is, during supervised
 4   visits, noncustodial parents exercise no “parental rights.” Where the State
 5   deprives the 14th Amendment right to care, custody, and control of one’s
 6   children, as well as the 1st Amendment right to private speech with one’s
 7   children — it effectively severs the parent-child relationship.
 8   (23) Constructive Termination: Where, as here, physical custody orders
 9   grant no “actual parenting time,” the noncustodial parents suffer
10   constructive termination of (a) the “right to parent,” [14th Amendment],
11   and (b) the “right to familial association,” [1st Amendment].
12   (24) Lifetime Consequences: Where physical custody orders grant no
13   “actual parenting time” to “fit” parents — such orders run contrary to public
14   policy. Under such restrictive orders, noncustodial parents are not actually
15   “parenting” their children (in any meaningful sense), nor are their children
16   actually “being parented” (in any meaningful sense). This all comes with
17   devastating consequences — including lifetimes of severe mental and
18   emotional trauma for the noncustodial parents and their children.
19   (25) Fundamental Rights: Plaintiffs invoke (a) their 14 th Amendment
20   “right to parent” — i.e., to care, custody and control of their children,
21   [Troxel vs. Granville, 530 U.S. 57 (2000)] — and also (b) their 1st Amendment
22   “right to familial association” — i.e., to private speech with their children,
23   (e.g., to pray together, do homework together, and lead by example on a daily
24   basis), [Rotary Int’l vs. Rotary Club of Duarte, 481 U.S. 537 (1987)].
25   (26) Arbitrary Discretion: Judges statewide issue physical custody orders
26   that grant no “actual parenting time” to “fit” parents — and for the flimsiest
27   of reasons — based only on the judge’s arbitrary discretion — and with no
28   findings that a parent is ‘unfit.’ But note, where there are no findings that a

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 1   parent is “unfit,” there is no legal or factual basis to issue physical custody
 2   orders that grant no “actual parenting time.”
 3   (27) Policy No. 1—Parenting is a Fundamental Right: Defendants maintain
 4   a policy of not training judges that parenting is a fundamental right, [see
 5   Meyer vs. Nebraska, 262 U.S. 390 (1923)], which has tragic and deleterious
 6   consequences; it results in continuous and ongoing violations of federally
 7   protected civil rights, which are so prevalent, so commonplace, and so
 8   regularized—as to become de facto judicial policy statewide.
 9   (28) Policy No. 2—Fit Parents Entitled to ‘Actual Parenting Time’:
10   Defendants fail to train its judges that, where parents are “fit,” courts may
11   not issue physical custody orders that grant no “actual parenting time” —
12   unless a parent is found ‘unfit’ — based on clear and convincing evidence of
13   actual harm to a minor child, i.e., (i) child abuse, (ii) child neglect, (iii)
14   abandonment, or (iv) endangerment.
15   (29) ‘Unfitness’ Required to Divest ‘Actual Parenting Time’: As per U.S.
16   Supreme Court precedent, where parents are “fit,” courts may not issue
17   physical custody orders that grant no “actual parenting time” — precisely
18   because there are no findings of ‘unfitness’ — i.e., no findings of actual harm
19   to a minor child — meaning no findings of (i) child abuse, (ii) child neglect,
20   (iii) abandonment, or (iv) endangerment.
21   (30) SCOTUS Decisions: Plaintiffs rely on a handful of decisions from
22   the U.S. Supreme Court, which provide that courts may not issue physical
23   custody orders that grant no “actual parenting time” — unless a parent is
24   deemed ‘unfit’ — with clear and convincing evidence of actual harm to a
25   minor child — pursuant to a properly noticed fitness proceeding, [see, e.g.,
26   Stanley vs. Illinois, 405 U.S. 645 (1972); Smith vs. Org. of Foster Families,
27   431 U.S. 816 (1977); Quilloin vs. Walcott, 434 U.S. 246 (1978); Parham vs.
28   J.R., 442 U.S. 584 (1979); and, Santosky vs. Kramer, 455 U.S. 745 (1982)].

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 1   (31) SCOTUS Precedent: As per SCOTUS precedent, (supra), no court may
 2   issue physical custody orders that grant no “actual parenting time” — unless
 3   a parent is found ‘unfit’; but here, Plaintiffs have never been found “unfit.”
 4   Where custody orders grant no “actual parenting time” — and there’s no
 5   showing of ‘unfitness’ — such custodial timeshares are unconstitutional per se.
 6   (32) Federal Public Policy: Federal policy seeks to strengthen and weld
 7   the parent-child relationship; however, Defendants’ judicial policies frustrate
 8   federal policy. Most significantly, Defendants’ policies grant unto the People
 9   less parental rights than the minimum constitutional guarantee.
10   (33)    Troxel Fitness Presumption: “ There is a presumption that fit parents
11   act in their children’s best interests,” [Troxel vs. Granville, 530 U.S. 57, 58
12   (2000)].
13   (34) ‘Fit’ Means ‘Not Unfit’: With no findings that a parent is “unfit,” one
14   must conclude that the parent is “fit” — and presumptively acting in their
15   child’s best interests, [Troxel, (id.)]. Plaintiffs contend that, with no findings
16   that a parent is “unfit,” there is no factual basis to support a physical custody
17   order that grants no “actual parenting time” to that parent.
18   (35) Equal Protection: Unless a parent is found “unfit,” physical custody
19   orders that grant “unequal custodial timeshares” are unconstitutional per se.
20   The Equal Protection Clause requires that two “fit” parents share physical
21   custody equally. Plaintiffs contend that two “fit” parents are deemed
22   similarly situated in the eyes of the law — because the Troxel fitness
23   presumption applies to both parents equally, [see Troxel, (id.)].
24   (36) Relief Sought: Plaintiffs seek compensation for each day they were
25   subjected to court orders that grant no “actual parenting time.” In addition,
26   Plaintiffs seek an injunction requiring J UDICIAL COUNCIL to train its judges,
27   first, that parenting is a fundamental right, [Meyer vs. Nebraska, 262 U.S.
28   390 (1923)], and, second, that courts may not issue physical custody orders

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 1   that grant no “actual parenting time” — unless a parent has been found ‘unfit,’
 2   (i.e., with findings of actual harm to a minor child).
 3   (37) Right to ‘Bring Up Children’: The term liberty denotes “not merely
 4   freedom from bodily restraint, but also the right of the individual to contract,
 5   to engage in any of the common occupations of life, to acquire useful
 6   knowledge, to marry, establish a home and bring up children, to worship
 7   God according to the dictates of his own conscience, and generally to enjoy
 8   those privileges long recognized at common law as essential to the orderly
 9   pursuit of happiness by free men,” [Meyer vs. Nebraska, 262 U.S. 390, 399
10   (1923); (bold italics added)].
11   (38) ‘Best Interests’ vs. the Constitution: In determining custody, state
12   courts rely exclusively on the child’s “best interest” standard; however, a
13   child’s constitutional “right to be parented” is paramount to a child’s “best
14   interests.” Why? — because the Constitution is the Supreme Law of the Land.
15   Where state courts make custody determinations based on “best interest”
16   standards, with no regard for constitutional standards, it robs the People of
17   their minimum constitutional guarantee. Furthermore, state courts have no
18   authority to decide a child’s “best interests” in the first place.
19   (39) ‘Best Interest’ Resides with ‘Fit’ Parents: State courts lack subject-
20   matter jurisdiction to decide a child’s “best interests.” As a matter of law,
21   “the custody, care and nurture of the child reside first in the parents,”
22   [Prince vs. Mass., 321 U.S. 158, 166 (1944)]; absent a showing of unfitness,
23   the State cannot enter “the private realm of family life,” [id.].
24   (40) Humanitarian Crisis: The stark reality is, prison inmates have greater
25   access to their kids than do Plaintiffs. However, there’s a basic human need
26   to bring-up one’s children, a basic necessity of life, like food or water; and yet,
27   judges statewide daily deprive the People of this most basic human necessity.
28   It’s a humanitarian crisis.

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 1         III.   Class Allegations.
 2   (41) Similarly Situated: Plaintiffs bring this action under FRCP, Rule 23,
 3   on behalf of themselves and all others “similarly situated” — i.e., all “fit”
 4   parents subject to physical custody orders that grant no “actual parenting
 5   time” with their children — despite the fact that they’ve never been found
 6   ‘unfit’ — i.e., no findings of actual harm to a minor child, i.e., no findings of
 7   (i) child abuse, (ii) child neglect, (iii) abandonment, or (iv) endangerment.
 8   (42) Common Questions: Common questions of law and fact affect all class
 9   members and predominate over questions that may involve individuals, e.g.,
10         Question of Fact: Is this parent subject to a physical custody order
11                              that grants no “actual parenting time?” — if so,
12         Question of Fact: Has this parent ever been found “unfit?” — if not,
13                              then this parent qualifies as a Class Member.
14         Question of Law: Which legal standard is paramount? (A) the child’s
15                              “best interests?” or, (B) the child’s constitutional
16                              “right to be parented?”
17   (43) Numerosity: The number of prospective class members is sufficiently
18   large for class treatment. To bring all individual members before the court
19   would be impractical. (Plaintiffs estimate that, on each court-day, approx.
20   100 California children lose a parent; exact numbers are unknown.)
21   (44) Community of Interest: There are no affirmative defenses that
22   Defendants may assert against some, but not all. Class action treatment
23   does not impair Defendants’ ability to defend class claims.
24   (45) Superiority Requirement: Class action treatment is the superior and
25   most economical method of adjudicating this controversy — on behalf of all
26   parents similarly situated.
27   (46) Typicality Requirement: Plaintiffs’ legal claims include all claims that
28   any given parent might reasonably assert under like circumstances.

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 1   (47) Finite & Ascertainable Class: Plaintiffs submit the following definition
 2   for Class Members—
 3          “All fit parents subject to physical custody orders — issued in the last
 4          two years — that grant no ‘actual parenting time’ — i.e., with no actual
 5          ability (a) to exercise care, custody, and control of their children —
 6          or, (b) to exercise private speech with their children — despite the fact
 7          that they’ve never been found ‘unfit’ — i.e., no findings of (i) child abuse,
 8          (ii) child neglect, (iii) abandonment, or (iv) endangerment.”
 9   (48) Fair & Adequate Representation: Plaintiffs’ counsel will zealously
10   prosecute this action on behalf of all Plaintiffs and putative class members.
11   (49) Substantial Benefits: Class action certification brings substantial
12   benefits to many parents and children. Plaintiffs are thus entitled to
13   attorney’s fees under Rule 23(h) and 42 U.S.C. § 1988.
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 1                                 CAUSE of ACTION No. 1
 2   (50) Monell Claim; (42 U.S.C. § 1983): Cause-of-Action No. 1 seeks damages
 3   and injunction, as against Defendants, as per 42 U.S.C. § 1983. Plaintiffs
 4   bring a Monell claim against Defendants’ judicial “policies,” which result in
 5   statewide deprivations of federally protected parental rights, [see Monell v.
 6   Dept. of Soc. Svcs., 436 U.S. 658 (1978)].
 7   (51) State Actors: Defendants are “state actors.” Defendants are “persons”
 8   subject to suit under Section 1983. Defendants are responsible for the
 9   unconstitutional judicial “policies” now deployed in California state courts.
10   (52) Plaintiffs are ‘Fit’ Parents: Plaintiffs are “fit” parents. They have
11   never been found “unfit” — i.e., no findings of (i) child abuse, (ii) child neglect,
12   (iii) abandonment, or (iv) endangerment.
13   (53) Color of Law: JUDICIAL COUNCIL is responsible for judicial policy.
14   Acting under colorable authority, Defendants’ judicial policies fail to train
15   its judges that parenting is a fundamental right — and that judges may not
16   issue physical custody orders that grant no “actual parenting time,” (absent
17   a showing of “unfitness”). These unconstitutional polices, ubiquitous
18   statewide, work a harsh result for Plaintiffs — by depriving them of their
19   right to “bring up children,” [Meyer vs. Nebraska, 262 U.S. 390, 399 (1923)].
20   (54) Policy No. 1—Parenting is a Fundamental Right: Defendants maintain
21   a policy of not training judges that parenting is a fundamental right, [see
22   Meyer vs. Nebraska, 262 U.S. 390 (1923)], and this policy has tragic and
23   deleterious consequences; it results in continuous and ongoing violations of
24   federally protected civil rights, which are so prevalent, so commonplace, and
25   so regularized—as to become de facto judicial policy statewide.
26   (55) Policy No. 2—Fit Parents Entitled to ‘Actual Parenting Time’:
27   Defendants fail to train its judges that, where parents are “fit,” courts may
28   not issue physical custody orders that grant no “actual parenting time” —

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 1   unless a parent is found ‘unfit’ — based on clear and convincing evidence of
 2   actual harm to a minor child, i.e., (i) child abuse, (ii) child neglect, (iii)
 3   abandonment, or (iv) endangerment.
 4   (56) Causation: Defendants’ inadequate judicial training policies are a
 5   proximate cause of the constitutional harms that Plaintiffs suffer.
 6   (57) No 11th Amendment Immunity: Plaintiffs are informed and believe
 7   that JUDICIAL COUNCIL is financially self-sufficient; that it generates its own
 8   revenues; that it pays its own debts; that it has a Dun & Bradstreet number;
 9   and that the State is not obligated to pay JUDICIAL COUNCIL debts; therefore,
10   the Eleventh Amendment core concern is not implicated.
11   (58) Money Damages: Defendants’ judicial policies cause Plaintiffs and
12   their children to sustain massive headache and heartache injuries. Plaintiffs
13   seek money damages, for each day they and their children were subjected to
14   court orders that grant no “actual parenting time.” Defendants’ policies were
15   a substantial factor in causing the harm. Plaintiffs seek presumed general
16   damages, as well as special damages, in sums T.B.D. at trial.
17   (59) Injunctive Relief: Plaintiffs seek a court order requiring J UDICIAL
18   COUNCIL to train its judges, first, that parenting is a fundamental right,
19   and, second, that courts may not issue physical custody orders that grant no
20   “actual parenting time,” absent findings of “unfitness.”
21   (60) Plaintiffs Entitled to Prevail: Plaintiffs are entitled to prevail because
22   statewide judicial policy grants unto the People less parental rights than the
23   minimum constitutional guarantee.
24   (61) Attorney’s Fees: Plaintiffs request an attorney’s fees award under
25   Rule 23(h) and 42 U.S.C. § 1988.
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 1                                   PRAYER for RELIEF
 2   (62) WHEREFORE, Plaintiffs pray for judgment against Defendants, and
 3   each of them, as follows—
 4          (a)   that the Court certify a Plaintiff Class;
 5          (b)   that Plaintiffs be adjudged the prevailing parties;
 6          (c)   for an award of judgment on Plaintiffs’ cause of action;
 7          (d)   for general and special damages — in sums T.B.D. in accordance
 8                with proof at trial;
 9          (e)   for an order requiring the JUDICIAL COUNCIL to train its judges —
10                first, that parenting is a fundamental right; and second, that
11                courts may not issue physical custody orders that grant no
12                “actual parenting time,” unless a parent is found ‘unfit’;
13          (f)   for costs and expenses incurred in this prosecuting this action;
14          (g)   for such other and further relief as the court may deems just
15                and proper.
16
     Dated: Sept. 29, 2023             Respectfully Submitted,
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18
19
                                          T. Matthew Phillips                    .




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26                                          *     *      *

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 1                            VERIFICATION of JASON D’SOUZA
 2          My name is JASON D’SOUZA. I am a Plaintiff herein. All facts alleged
 3   are true and correct of my own personal knowledge; as to those matters
 4   alleged on information and belief, I reasonably believe them true. If called to
 5   testify, I could and would give competent and truthful evidence.
 6          1.   I am subject to a physical custody order, issued in the last two
 7   years, that grants me no “actual parenting time” with my minor child.
 8          2.   I have never been found “unfit.” I never committed (i) child
 9   abuse, (ii) child neglect, (iii) abandonment, or (iv) endangerment. As a “fit”
10   parent, I decide my child’s best interests, not the state.
11          3.   My child’s constitutional “right to be parented” is more important
12   than my child’s “best interests.” I ask this court, respectfully, to grant me
13   the minimum parental rights that the Constitution guarantees—in California
14   state courts.
15          I declare under penalty of perjury, pursuant to the laws of the
16   United States, the foregoing is both true and correct.
17
     Dated: Sept. 29, 2023             Respectfully Submitted,
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19
20
21
                                        Jason D’Souza                         .




                                       JASON D’SOUZA,
22                                     Plaintiff
23
24                                          *     *      *
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